     Case: 4:20-cv-00164-DMB-JMV Doc #: 55-4 Filed: 05/21/21 1 of 17 PageID #: 202




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

MAURICE MASON,
SHARON WADE, LADAYTON WILLIAMS
OLLIE HARDMON and WILLIE JOE SAFFORD                                                 PLAINTIFFS

v.                                               CIVIL ACTION NO. 4:20-CV-164-DMB-JMV

CITY OF CLARKSDALE; COAHOMA COUNTY,
MISSISSIPPI; COAHOMA COUNTY SHERIFF’S OFFICE,
MASTER SERGEANT MARCUS COHEN, individually and
in his official capacity, DEPUTY ERIC BILBRO, individually
and in his official capacity, and JOHN and JANE DOES 1-10                          DEFENDANTS

       DEFENDANTS, COAHOMA COUNTY, MISSISSIPPI, COAHOMA COUNTY
     SHERIFF’S DEPARTMENT, MASTER SERGEANT MARCUS COHEN, DEPUTY
      EDDIE EARL, and DEPUTY ERIC BILBRO’S FIRST SET OF DISCOVERY TO
                       PLAINTIFF LADAYTON WILLIAMS

        COME NOW Defendants, Coahoma County, Mississippi, Coahoma County Sheriff’s

Department, Master Sergeant Marcus Cohen, Deputy Eddie Earl, and Deputy Eric Bilbro (“Coahoma

County Defendants”), by counsel, and propound their First Set of Interrogatories, Requests for

Production of Documents, and Requests for Admissions to Plaintiff, LADAYTON WILLIAMS

pursuant to the Federal Rules of Civil Procedure:

                                       Table of Definitions

        Definitions of various words, terms, and phrases contained in these Interrogatories are

provided in order to clarify their meaning and to assist Plaintiff in understanding the objectives of

these discovery requests and to locate and furnish the relevant information and materials. It is

expressly stipulated by Defendants that an affirmative response on the part of Plaintiff will not be

construed as an admission that any definition contained herein is either factually correct or legally



                                                 1


                                              EXHIBIT D
   Case: 4:20-cv-00164-DMB-JMV Doc #: 55-4 Filed: 05/21/21 2 of 17 PageID #: 203




binding on Plaintiff. Accordingly, as used in these Interrogatories, the following definitions shall

apply:

         A.     The words "you", "your", "yourself", and "Plaintiff" shall mean LADAYTON

WILLIAMS and shall include all agents, representatives, employees, attorneys, insurers, bonding

companies, adjusters, and all other persons, firms, partnerships, and corporations acting for and on

behalf of Plaintiffs.

         B.     The word "document," as defined by Rule 34 of the Federal Rules of Civil Procedure,

is intended to refer to any medium by which information is recorded, and shall mean and

shall include the original and non-identical copy of all writings, drafts, photographs, microfilm

records, microfiche records, photograph records, drawings, maps, plats, tape recordings, data

compilations from which information can be obtained or translated, and all other writings of any

kind, nature, or description, which are in the possession, custody, or control of Plaintiff or any

person, firm, partnership or corporate entity acting for or on behalf of Plaintiff, and shall include the

original and all copies and drafts of all agreements, communications, files, papers, books, accounts,

letters, correspondence, telegraphs, telegrams, memoranda, summaries or records of telephone

conversations, sound recordings, minutes, records of personal conversations, negotiations, meetings,

conferences, interviews, tapes, diaries, graphs, reports, vouchers, blank checks, invoices, charge

slips, receipts, notes, notebooks, plans, drawings, sketches, maps, interoffice communications,

projections, analyses, opinions or reports of consultants, statistical records, drafts, working papers

or summaries, brochures, pamphlets, advertisements, computer data or data stored in computers,

computer printouts, and all other writings, pictures or symbols of any kind, however denominated.

         C.     The word "identify," as used in these Requests means to state the origin, nature or


                                                   2


                                                EXHIBIT D
   Case: 4:20-cv-00164-DMB-JMV Doc #: 55-4 Filed: 05/21/21 3 of 17 PageID #: 204




definitive characteristic of the person, document, event, incident or subject inquired about.

        D.      The word "describe," as used in these Interrogatories, means to define, delineate,

explain, illustrate, recount, render, or provide a narrative, chronological history of the event, incident,

occurrence, object, or thing inquired about.

        E.      The word "similar," as used in these Requests, means resembling, corresponding, or

being related in terms, content, characteristics, or provisions.

        F.      The word "information," as used in these Requests, shall mean both facts and

applicable principles, and shall not be construed to be limited by any method of acquisition or

compilation, and should, therefore, be construed to include oral information as well as documents.

                     INSTRUCTIONS REGARDING YOUR RESPONSES
                          TO THESE DISCOVERY REQUESTS

        Answers to these Interrogatories, Requests for Production, and Requests for Admissions

hereby propounded are sought on a continuing basis during the pendency of this civil action in

accordance with the provisions of of the Federal Rules of Civil Procedure. You are requested to

note the following in making your responses to each of these requests, or supplemental answers, as

the case may be:

        A.      Please furnish any information or tangible things which are either in your possession

of which are accessible to you by a reasonable inquiry.

        B.      If after you have made reasonable inquiry to obtain the necessary information, you

were still unable to make a complete response to a particular Request or Requests, please respond

to the fullest extent possible. In doing so, please specify the part of the Request you are unable to

respond to or to which you object.



                                                    3


                                                 EXHIBIT D
   Case: 4:20-cv-00164-DMB-JMV Doc #: 55-4 Filed: 05/21/21 4 of 17 PageID #: 205




       C.      When your response includes a document, please furnish clear and legible copies of

such document, and please include a copy of the entire document and all the pages and attachments

to the document.

       D.      A request for any particular document or thing is a request for the original, for each

and every photocopy or duplicate of that document or thing, and for each and every draft of the

document or thing. The documents and things to be produced should, at the time of production, be

organized and labeled to correspond to the enumerated requests below. In the alternative, they may

be produced as they are kept in the ordinary course of business, if it is possible to do so.

       E.      You are to produce not only the documents and things in your immediate possession,

but also those over which you have custody or control, including but not limited to documents and

things in the possession, custody, or control of your attorney(s), any investigator employed by you

or by your attorney(s), or any consultant or expert witness employed by you or by your attorney(s).

       F.      The following requests are continuing. After serving your initial response to these

requests, please supplement your response whenever any document(s) or thing(s) meeting any of the

enumerated descriptions below come into your possession, custody, or control.

       G.      If, in response to a particular request, an objection is interposed, and the objection

applies to some but not all of the documents requested, please produce all responsive documents and

things to which the objection does not apply. Any and all objections should be interposed by the

deadline for your initial response, or will be considered waived.

       H.     In the event you are asked to admit the truth of any matter by way of a request for

admission, your response or objection must be made within 30 days hereof in the form and in the

manner required by Fed. R. Civ. Proc. 36.


                                                  4


                                              EXHIBIT D
   Case: 4:20-cv-00164-DMB-JMV Doc #: 55-4 Filed: 05/21/21 5 of 17 PageID #: 206




                          DISCOVERY REQUESTS TO PLAINTIFF

       INTERROGATORY NO. 1: Please identify any documents, things, photographs, videos,

or exhibits which you may seek to introduce into evidence.

       REQUEST FOR PRODUCTION NO. 1: Please produce for inspection and copying each

document, thing or item of tangible evidence identified by you in your response to the preceding

Interrogatory No. 1.

       INTERROGATORY NO. 2: Please state with specificity all damages of every kind and

nature which you claim to have received from this incident.

       REQUEST FOR PRODUCTION NO. 2: Please produce for inspection and copying each

document, thing or item of tangible evidence identified by you in your response to the preceding

Interrogatory No. 2.

       INTERROGATORY NO. 3: Please state in detail what medical injuries you are claiming

in connection with this lawsuit including and provide a list of medical providers you have been to

in connection with said injuries. If this includes getting prescription medication, please provide the

name of the pharmacies.

       REQUEST FOR PRODUCTION NO. 3: Please produce for inspection and copying each

document, thing or item of tangible evidence identified by you in your response to the preceding

Interrogatory No. 3.

       INTERROGATORY NO. 4: Please state in detail the past medical history of Plaintiff,

including, but not limited to, the following:

       (a)     Any physical, mental, or emotional problems he had prior to the incident, including

               congenital problems or diseases and any major illness he may have had, and for each

                                                   5


                                                EXHIBIT D
   Case: 4:20-cv-00164-DMB-JMV Doc #: 55-4 Filed: 05/21/21 6 of 17 PageID #: 207




               physical, mental, or emotional problem, or congenital problem or major illness,

               please list who his treating physician(s) was, whether or not he was hospitalized, and

               if so, when, where, and by whom;

       (b)     Whether or not as of March 9, 2020, LADAYTON WILLIAMS was being treated

               by any physician for any medical, mental, emotional, or congenital problem, and if

               so, for what problem, who the physician(s) was, when he was last been seen by him,

               and whether or not she had been hospitalized for any such problem;

       (c)     Please list any and all hospitals where he had been hospitalized in the last ten (10)

               years, giving times, places, and reasons for the hospitalization(s);

       (d)     Please list all physicians seen by LADAYTON WILLIAMS in the past ten (10)

               years, on what date(s) they were seen, for what purpose, and the address of each

               physician(s); and,

       (e)     Please state any and all operations LADAYTON WILLIAMS had, what said

               operation was for, who the operating physician was, dates, and reasons thereafter.

       REQUEST FOR PRODUCTION NO. 4: Please produce for inspection and copying each

document, thing or item of tangible evidence identified by you in your response to the preceding

Interrogatory No. 4.

       INTERROGATORY NO. 5: Have you ever been charged with or convicted of any felony

or misdemeanor, including, but not limited to, traffic violations, before and after March 9, 2020? If

so, please state for each such charge or conviction the nature of the offense with which you were

charged or convicted, the disposition of such charge or conviction, the name and address of the court

where such charge was disposed of, or is still pending, and the exact style and cause number of each


                                                 6


                                              EXHIBIT D
   Case: 4:20-cv-00164-DMB-JMV Doc #: 55-4 Filed: 05/21/21 7 of 17 PageID #: 208




such offense.

        REQUEST FOR PRODUCTION NO. 5: Please produce for inspection and copying each

document, thing or item of tangible evidence identified by you in your response to the preceding

Interrogatory No. 5.

        INTERROGATORY NO. 6: Have you ever been a party in a lawsuit or the recipient of a

settlement for a lawsuit that was threatened? If so, for each such suit or claim, please state the nature

of the suit or claim, the date the suit or claim originated, the names of the respective parties and their

attorneys, the style of the case and cause number for any litigation that was filed or chancery action

brought to approve settlement terms and the verdict or disposition of such suit or claim.

        REQUEST FOR PRODUCTION NO. 6: Please produce for inspection and copying each

document, thing or item of tangible evidence identified by you in your response to the preceding

Interrogatory No. 6.

        INTERROGATORY NO. 7: Do you claim a loss of income on account of the injuries

alleged to have been received as a result of the incident giving rise to the Complaint filed in this

case? If so, please state the exact name and address of your employer and specific duties. Please

itemize your loss of income, if any, on account of the injuries alleged to have been received as a

result of this incident and state the source of said income and the amount of any loss.

        REQUEST FOR PRODUCTION NO. 7: Please produce for inspection and copying your

most recent W-2 form and your state and federal income tax returns for the preceding five (5) years

prior to your injuries.

        INTERROGATORY NO. 8: Do you claim that your injuries were caused, in whole or in


                                                    7


                                                EXHIBIT D
   Case: 4:20-cv-00164-DMB-JMV Doc #: 55-4 Filed: 05/21/21 8 of 17 PageID #: 209




part, by any policy of Coahoma County, Mississippi, in effect on or about March 9, 2020? If so,

please identify the following:

       (a)     Each fact which you contend supports this claim (This is intended to include

               identification of any policy upon which you rely in making this contention);

       (b)     Each witness whom you contend has first-hand knowledge which supports your

               contention;

       (c)     Each document or item of tangible evidence which you contend supports your

               contention;

       (d)     Any witness whom you intend to designate to provide lay or expert opinion testimony

               concerning your contention and the substance of any such opinion.

       (e)     The current custodian of any document or item of tangible evidence identified by you

               above.

       REQUEST FOR PRODUCTION NO. 8: Please produce for inspection and/or copying

any documents which verify the accuracy of the above response to the preceding interrogatory, if

any.

       INTERROGATORY NO. 9: Do you claim that Coahoma County caused or contributed to

your injuries related to this incident? If so, please identify the following:

       (a)     Each fact which you contend supports this claim;

       (b)     Each witness whom you contend has first hand knowledge which supports this claim;

       (c)     Each document or item of tangible evidence which you contend supports this claim;


                                                  8


                                              EXHIBIT D
   Case: 4:20-cv-00164-DMB-JMV Doc #: 55-4 Filed: 05/21/21 9 of 17 PageID #: 210




       (d)     Any witness whom you intend to designate to provide lay or expert opinion testimony

               concerning your injuries.

       REQUEST FOR PRODUCTION NO. 9: Please produce for inspection and copying each

document, thing or item of tangible evidence which you rely on as a basis for your response to the

preceding Interrogatory No. 9.

       INTERROGATORY NO. 10: Do you claim that the failure to enact a specific policy or

policies for the care and treatment of detainees at a scene by the Coahoma County Sheriff’s

Department prior to March 9, 2020, caused or contributed to the injury of LADAYTON

WILLIAMS? If so, please identify the following:

       (a)     Each fact which you contend supports this claim (It is intended that you specify the

               exact policy or policies which you contend should have been enacted prior to Mr.

               Williams’ injury);

       (b)     Each witness whom you contend has first hand knowledge which supports this claim;

       (c)     Each document or item of tangible evidence which you contend supports this claim;

       (d)     Any witness whom you intend to designate to provide lay or expert opinion testimony

               concerning the injury of LADAYTON WILLIAMS, being caused by the absence

               of any policy or policies of the Coahoma County Sheriff’s Department and the

               substance of any such opinion.

       REQUEST FOR PRODUCTION NO. 10: Please produce for inspection and copying each

document, thing or item of tangible evidence which you rely on as a basis for your response to the

preceding Interrogatory No. 10.

                                                9


                                             EXHIBIT D
  Case: 4:20-cv-00164-DMB-JMV Doc #: 55-4 Filed: 05/21/21 10 of 17 PageID #: 211




        INTERROGATORY NO. 11: With respect to all witnesses whom you will or may call as

experts to give opinion testimony in the trial of this matter, please state their name, address and

telephone number, the subject matter upon which they will testify, a summary of the qualifications

of the expert, the substance of the facts to which he is expected to testify, the substance of the

opinions to which he is expected to testify and the basis of any such opinions to which he is expected

to testify.

        REQUEST FOR PRODUCTION NO. 11: Please produce for inspection and copying any

document, thing or item of tangible evidence identified by you in your response to the preceding

Interrogatory No. 11.

        INTERROGATORY NO. 12: With respect to all experts you intend to call to testify, please

state all documents, photos, videos or objects which he or she has reviewed in formulating his

opinions.

        REQUEST FOR PRODUCTION NO. 12: Please produce for inspection and copying any

document, thing or item of tangible evidence identified by you in your response to the preceding

Interrogatory No. 12.

        INTERROGATORY NO. 13: With respect to all experts you intend to call to testify, please

state whether or not said expert has conducted any tests, studies or analysis pertaining to the incident

in dispute which is the subject matter of this lawsuit and state the type of test, studies or analysis

performed and the results.

        REQUEST FOR PRODUCTION NO. 13: Please produce for inspection and copying the

results of any such test, study or analysis identified by you in your response to the preceding


                                                  10


                                               EXHIBIT D
  Case: 4:20-cv-00164-DMB-JMV Doc #: 55-4 Filed: 05/21/21 11 of 17 PageID #: 212




Interrogatory No. 13.

       INTERROGATORY NO. 14: In the Complaint, you allege you are entitled to damages for

mental anguish and emotional trauma and suffering, past, present and future as a result of the

Defendants’ actions. Please describe the factual basis which you contend supports the above-

referenced litigation.

       REQUEST FOR PRODUCTION NO. 14: Please produce for inspection and copying each

document, thing or item of tangible evidence which you rely on as a basis for your response to the

preceding Interrogatory No. 14.

       INTERROGATORY NO. 15: Do you contend that Sergeant Marcus Cohen, Deputy Eddie

Earl, or Deputy Eric Bilbro used excessive or unreasonable force against you on March 9, 2020? If

so, please identify each fact, witness, document or anticipated expert opinion testimony which you

claim supports this contention.

       REQUEST FOR PRODUCTION NO. 15: Please produce for inspection and copying

each document, thing, or item of tangible evidence which you rely on as a basis for your response

to the preceding Interrogatory No. 15.

       INTERROGATORY NO. 16: Do you contend that Sergeant Marcus Cohen, Deputy Eddie

Earl, or Deputy Eric Bilbro used any force against you on March 9, 2020, at a time when no force

was reasonably necessary? If so, please identify each fact, witness, document or anticipated expert

opinion testimony which you claim supports this contention.

       REQUEST FOR PRODUCTION NO. 16: Please produce for inspection and copying each

document, thing or item of tangible evidence which you rely on as a basis for your response to the

                                                11


                                             EXHIBIT D
  Case: 4:20-cv-00164-DMB-JMV Doc #: 55-4 Filed: 05/21/21 12 of 17 PageID #: 213




preceding Interrogatory No. 16.

       INTERROGATORY NO. 17: Do you contend that the Coahoma County Sheriff’s

Department failed to properly train, supervise, and monitor Sergeant Marcus Cohen, Deputy Eddie

Earl, or Deputy Eric Bilbro on March 9, 2020? If so, please identify each fact, witness, document

or anticipated expert opinion testimony which you claim supports this contention.

       REQUEST FOR PRODUCTION NO. 17: Please produce for inspection and copying each

document, thing or item of tangible evidence which you rely on as a basis for your response to the

preceding Interrogatory No. 17.

       INTERROGATORY NO. 18: Do you contend that any employee of Coahoma County,

Mississippi, acted unlawfully under the color of state law to deprive Plaintiff of his Fourth

Amendment right to be free from unlawful seizure by arresting Plaintiff without a warrant, without

witnessing a criminal act, and without probable cause to believe a crime had occurred or was about

to occur? If so, please identify the following:

       (a)     Each fact which you contend supports this claim;

       (b)     Each witness whom you contend has first hand knowledge which supports this claim;

       (c)     Each document or item of tangible evidence which you contend supports this claim;

       (d)     Any witness whom you intend to designate to provide lay or expert opinion testimony

               concerning such acts and the substance of any such opinion.

       REQUEST FOR PRODUCTION NO. 18: Please produce for inspection and copying each

document, thing or item of tangible evidence which you rely on as a basis for your response to the



                                                  12


                                             EXHIBIT D
  Case: 4:20-cv-00164-DMB-JMV Doc #: 55-4 Filed: 05/21/21 13 of 17 PageID #: 214




preceding Interrogatory No. 18.


       INTERROGATORY NO. 19: Since the date of the injury that you allege in your

Complaint, please state in specific detail any and all physician(s) you have seen, the reasons therefor,

the date(s) and time(s), what symptoms or manifestations of pain or injury you had, what complaints

of pain or injury were made by you to said doctor, what treatment(s), if any, you were given, nature

and duration of said treatment(s); any medical treatment(s) for the same or similar complaint(s) that

you now contend you received as a result of the accident in question; and if so, specifics such as

date(s), physician(s), type of complaint(s), etc.; any hospitalizations with date(s), place(s) and

reason(s) therefor; physician treatment or hospitalization for any reason other than for the injuries

you contend resulted from the accident in question; and, all medical expenses incurred as a result of

the treatment described in your response to this question.

       REQUEST FOR PRODUCTION NO. 19: Please produce for inspection and copying each

document or item of tangible evidence identified in your response to the preceding Interrogatory No.

19.

       INTERROGATORY NO. 20: Do you claim to have suffered any permanent disability or

impairment as a result of the incident complained of in your Complaint? If so, please identify each

fact, witness, document or anticipated expert opinion testimony which you claim supports this

contention.

       REQUEST FOR PRODUCTION NO. 20: Please produce for inspection and copying each

document, thing or item of tangible evidence which you rely on as a basis for your response to the

preceding Interrogatory No. 20.


                                                  13


                                               EXHIBIT D
  Case: 4:20-cv-00164-DMB-JMV Doc #: 55-4 Filed: 05/21/21 14 of 17 PageID #: 215




       INTERROGATORY NO. 21: Do you contend that any employee of Coahoma County shot

you on March 9, 2020? If so, please identify each fact, witness, document or anticipated expert

opinion testimony which you claim supports this contention.

       REQUEST FOR PRODUCTION NO. 21: Please produce for inspection and copying each

document, thing or item of tangible evidence which you rely on as a basis for your response to the

preceding Interrogatory No. 21.

       INTERROGATORY NO. 22: Do you contend that Sheriff Jones failed to properly train,

supervise, and monitor any of the Coahoma County Sheriff’s Department employees on March 9,

2020? If so, please identify each fact, witness, document or anticipated expert opinion testimony

which you claim supports this contention.

       REQUEST FOR PRODUCTION NO. 22: Please produce for inspection and copying

each document, thing or item of tangible evidence which you rely on as a basis for your response

to the preceding Interrogatory No. 22.

       INTERROGATORY NO. 23:                Do you contend that Master Sergeant Marcus Cohen,

Deputy Eddie Earl, or Deputy Eric Bilbro were deliberately indifferent to a need for medical care for

a serious medical need on the part of LADAYTON WILLIAMS on March 9, 2020? If so, please

identify each fact, witness, document or anticipated expert opinion testimony which you claim

supports this contention.

       REQUEST FOR PRODUCTION NO. 23: Please produce for inspection and copying

each document, thing or item of tangible evidence which you rely on as a basis for your response

to the preceding Interrogatory No. 23.


                                                 14


                                              EXHIBIT D
  Case: 4:20-cv-00164-DMB-JMV Doc #: 55-4 Filed: 05/21/21 15 of 17 PageID #: 216




       INTERROGATORY NO. 24: Please identify any person(s), aside from your attorney, that

you have communicated with, regardless of medium used (including, but not limited to social media

messages/ posts, text messages, telephone conversations, etc.), regarding the underlying facts and

circumstances of this case.

       REQUEST FOR PRODUCTION NO. 24: Please produce for inspection and copying each

document, thing or item of tangible evidence which you rely on as a basis for your response to the

preceding Interrogatory No. 24.

       INTERROGATORY NO. 25: Please explain in specific detail the reason you were in the

home on the date of the incident, your relationship to the home’s owner, how long you had been

there, what you were doing immediately before the incident, and whether you had witnessed any

illegal actions take place in the home in the twenty-four hours prior to the incident.

                                REQUESTS FOR ADMISSIONS

       REQUEST FOR ADMISSION NO. 1: Please admit that the home you were in at the time

of the incident was known for selling drugs.

       REQUEST FOR ADMISSION NO. 2: Please admit that you are affiliated with a gang.

       REQUEST FOR ADMISSION NO. 3: Please admit that in the twenty-four hours prior to

the this incident, one of the people in the home with you sold drugs to a confidential informant.

       REQUEST FOR ADMISSION NO. 4: Please admit that drugs and scales were found in

the home as a result of this search.

       REQUEST FOR ADMISSION NO. 5: Please admit that you were arrested as a result of



                                                  15


                                               EXHIBIT D
  Case: 4:20-cv-00164-DMB-JMV Doc #: 55-4 Filed: 05/21/21 16 of 17 PageID #: 217




this search.

        REQUEST FOR ADMISSION NO. 6: Please admit that on the day that is the subject of

this lawsuit, the Coahoma County Sheriff’s Department and Clarksdale Police Department knocked

and announced their presence.

        REQUEST FOR ADMISSION NO. 7: Please admit that you have not been to see a

psychologist or psychiatrist for extreme emotional distress and/or mental anxiety.

        RESPECTFULLY SUBMITTED this the 27th day of November, 2020.


                                                     JACKS | GRIFFITH | LUCIANO, P.A.


                                             By:     /s/ Bethany A. Tarpley
                                                     Daniel J. Griffith, MS Bar No. 8366
                                                     Bethany A. Tarpley, MS Bar No. 104134
                                                     Attorneys for the Coahoma County
                                                     Defendants

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                                                16


                                             EXHIBIT D
  Case: 4:20-cv-00164-DMB-JMV Doc #: 55-4 Filed: 05/21/21 17 of 17 PageID #: 218




                                CERTIFICATE OF SERVICE

         I, Bethany A. Tarpley , attorney of record for Coahoma County Defendants, do hereby certify
that I have this day caused a true and correct copy of the above and foregoing Defendants’ First Set
of Discovery to Plaintiff Ladayton Williams to be delivered by the ECF Filing System and electronic
mail which gave notice to all counsel of record who have appeared herein.


                                      Garrett Tyjuan Estes, Esq.
                                      John Keith Perry, Jr., Esq.
                                      Perry Griffin, PC
                                      Email: ge@perrygriffin.com
                                              jkp@perrygriffin.com
                                      Attorneys for Plaintiffs

                                      Michael S. Carr, Esq.
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                                      Email: mcarr@carrlawpllc.com

       DATED this 27th day of November, 2020.

                                                               /s/ Bethany A. Tarpley
                                                             Bethany A. Tarpley




                                                17


                                             EXHIBIT D
